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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


    ROOFERS’ PENSION FUND, Individually
    and On Behalf of All Others Similarly
    Situated,

                      Plaintiffs,           Civil Action No. 2:16-cv-2805-MCA-LDW
                v.

    PERRIGO COMPANY, PLC, et al.,

                      Defendants.


    CARMIGNAC GESTION, S.A.,                Civ. A. No. 2:17-CV-10467-MCA-LDW

                      Plaintiff,

                v.

    PERRIGO COMPANY PLC, et al.,

                      Defendants.


    FIRST MANHATTAN CO.,                    Civ. A. No. 2:18-CV-02291-MCA-LDW

                      Plaintiff,

                v.

    PERRIGO COMPANY PLC, et al.,

                      Defendants.
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    MANNING & NAPIER ADVISORS, LLC, Civ. A. No. 2:18-CV-00674-MCA-LDW

                     Plaintiff,

               v.

    PERRIGO COMPANY PLC, et al.,

                     Defendants.


    NATIONWIDE MUTUAL FUNDS, on     Civ. A. No. 2:18-CV-15382-MCA-LDW
    behalf of its series NATIONWIDE
    GENEVA MID CAP GROWTH FUND and
    NATIONWIDE S&P 500 INDEX FUND,
    et al.,

                     Plaintiffs,

               v.

    PERRIGO COMPANY PLC, et al.,

                     Defendants.


    ABERDEEN CANADA FUNDS –            Civ. A. No. 2:19-cv-06560-MCA-LDW
    GLOBAL EQUITY FUND, a series of
    ABERDEEN CANADA FUNDS, et al.,

                     Plaintiffs,

               v.

    PERRIGO COMPANY PLC, et al.,

                     Defendants.
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    SCHWAB CAPITAL TRUST on behalf of Civ. A. No. 2:19-cv-03973-MCA-LDW
    its series SCHWAB S&P 500 INDEX
    FUND, SCHWAB TOTAL STOCK
    MARKET INDEX FUND, SCHWAB
    FUNDAMENTAL U.S. LARGE
    COMPANY INDEX FUND, and SCHWAB
    HEALTH CARE FUND, et al.,

                       Plaintiffs,

                 v.

    PERRIGO COMPANY PLC, et al.,

                       Defendants.


    HAREL INSURANCE COMPANY, LTD., Civil Action No. 2:18-cv-02074-MCA-LDW
    et al.,

                       Plaintiffs,

                v.

    PERRIGO CO. PLC, et al.,

                       Defendants.


    TIAA-CREF INVESTMENT               Civil Action No. 2:18-cv-08175-MCA-LDW
    MANAGEMENT, LLC, et al.,

                       Plaintiffs,

                v.

    PERRIGO CO. PLC, et al.,

                       Defendants.
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    OZ MASTER FUND, LTD., et al.,          Civ. A. No. 19-cv-04900-MCA-LDW

                       Plaintiffs,

                  v.

    PERRIGO CO., PLC, et al.,

                       Defendants.

                                       )
    MASON CAPITAL L.P., et al.,        )
                                       )
                         Plaintiffs,   )
                                       )     Civil Action No. 2:18-CV-01119-MCA-
             v.                        )     LDW
                                       )
    PERRIGO CO., PLC, et al.,          )
                                       )
                         Defendants.   )
                                       )
                                       )
    PENTWATER EQUITY                   )
    OPPORTUNITIES MASTER FUND,         )
    LTD., et al.,                      )
                                       )
                         Plaintiffs,   )
                               v.      )     Civil Action No. 2:18-CV-01121-MCA-
                                       )     LDW
    PERRIGO CO., PLC, et al.,          )
                                       )
                         Defendants.   )
                                       )
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                                     )
    WCM ALTERNATIVES: EVENT-         )
    DRIVEN FUND, et al.,             )
                                     )
                         Plaintiffs, )              Civil Action No. 2:18-cv-16204-MCA-
                                     )              LDW
                                     )
            v.                       )
                                     )
    PERRIGO CO., PLC, et al.,        )
                                     )
                         Defendants. )
                                     )
                                     )
    HUDSON BAY MASTER FUND LTD, et )
    al.,                             )
                                     )
                         Plaintiffs, )              Civil Action No. 2:18-cv-16206-MCA-
                                     )              LDW
            v.                       )
                                     )
    PERRIGO CO., PLC, et al.,        )
                                     )
                         Defendants. )
                                     )


                PLEASE TAKE NOTICE that Katherine L. St. Romain is entering her
  appearance as co-counsel for Defendant Perrigo Co., plc.


  Dated: December 10, 2019                           Respectfully submitted,

                                                     /s/ Katherine L. St. Romain
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